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                                         UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF COLUMBIA

In re:                                                                     Case No. 24-00090-ELG

           Jumbo Seafood Restaurant, Inc.                                  Chapter 11
                 Debtor


                                         NOTICE OF CASE FILING DEFICIENCY

To Debtor and Debtor’s Attorney:

The above captioned case was filed on 3/27/2024 without all of required document(s), information, and/or fees as forth herein.

NOTICE IS HEREBY GIVEN that the Debtor and Debtor’s attorney must (i) file the deficient documents indicated below
and/or pay the associated fee not later than three (3) days after the issuance of this notice; (ii) timely file a response and attend
a hearing to explain why the case should not be dismissed; or (iii) if applicable, timely file a motion for an extension of time.
IF YOU DO NOT COMPLY IN A TIMELY MANNER THE COURT MAY DISMISS YOUR CASE WITHOUT FURTHER
NEED FOR A HEARING.


 ☐       Debtor’s Federal Employer Identification Number (EIN) (Official Form 201)
 ☐       Signature of Attorney on Petition (Official Form 201)
 ☐       Signature of Debtor(s) on Petition (Official Form 201)
 ☐       List of Creditors Who Have the 20 Largest Unsecured Claims Against You and Are Not Insiders (Official Form 204)
 ☐       List of Creditors which must include the name, mailing address, and zip code of each creditor included or to be
         included in Schedules D, E/F, G, and H (via the NextGen CM/ECF or in a format specified by the Clerk of the Court)
 ☐       Debtor’s physical street address must be provided in addition to any post office box address (Official Form 101 or
         201)
 ☐       A corporate ownership statement containing the information described in Federal Rule of Bankruptcy Procedure
         7007.1
 ☐       A certificate, resolution, or other applicable documentation demonstrating that the filing is authorized by the Debtor.
         (Local Bankruptcy Rule 1007-2)
 ☐       A fee of $______ is required for this filing. See Bankruptcy Court Miscellaneous Fee Schedule
 ☐       Filer is hereby notified payment submitted with the filing was not a permissible form of payment. See Local Rule
         1006-1(a).
 ☐       Other (Specify):

NOTICE IS HEREBY GIVEN that the Debtor and/or Debtor’s attorney must by 4/11/2024: (i) file the deficient
documents; (ii) timely file a response and attend a hearing to explain why the case should not be dismissed; or (iii) timely file
a motion for an extension of time. IF YOU DO NOT COMPLY IN A TIMELY MANNER THE COURT MAY DISMISS
YOUR CASE WITHOUT FURTHER NEED FOR A HEARING.

 ☐       Summary of Assets and Liabilities for Non-Individuals (Form 206Sum)
 ☒       Schedule A/B: Property (Official Form 206A/B)
 ☒       Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 206D )
 ☒       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F )
 ☒       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
 ☒       Schedule H: Your Codebtors (Official Form 206H)
 ☐       Declaration Under Penalty of Perjury for Non−Individual Debtors (Official Form 202)
 ☒       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207)
 ☐       Names and addresses of equity security holders of the debtor. Fed. R. Bankr. P. 1007(a)(3).



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 ☐      Local Official Form 101 (Disclosure of Compensation of Attorney for Debtor)
 ☐      Other (Specify):

NOTICE IS HEREBY GIVEN that the Debtor and Debtor’s attorney must by [DATE that is 7 days from the petition
date]: (i) file the deficient documents; (ii) timely file a response and attend a hearing to explain why the case should not be
dismissed; or (iii) timely file a motion for an extension of time. IF YOU DO NOT COMPLY IN A TIMELY MANNER THE
COURT MAY DISMISS YOUR CASE WITHOUT FURTHER NEED FOR A HEARING.

 ☐      The most recent balance sheet or statement pursuant to 11 U.S.C. § 1116(1)(B).
 ☐      The most recent statement of operations or statement pursuant to 11 U.S.C. § 1116(1)(B).
 ☐      The most recent balance sheet or statement pursuant to 11 U.S.C. § 1116(1)(B).
 ☐      The most recent cash-flow statement or statement pursuant to 11 U.S.C. § 1116(1)(B).
 ☐      The most recent federal income tax return or statement pursuant to 11 U.S.C. § 1116(1)(B).

                                                       For the Court:
                                                       Angela D. Caesar
                                                       BY: MB

Copies to: Recipients of electronic notifications; Debtor; appointed trustee.




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